                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:03CR37-3-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                      SCHEDULING ORDER
                                 )
JOSHUA RYAN AUDREY               )
                                 )
           Defendant.            )
________________________________)


       THIS MATTER is before the Court on an Order (Doc. No. 640) granting

Defendant’s Motion To Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

2255, (Doc. No. 14) in case 5:12CV126, filed January 16, 2014.

       IT IS, THEREFORE, ORDERED that:

       The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of JOSHUA RYAN AUDREY(USM#

17941-058), for re-sentencing on April 22, 2014 at 10 AM, before the Honorable Richard

L. Voorhees, in the Western District of North Carolina, Statesville Courthouse, 200 West

Broad Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than April 11,

2014, and upon completion of the re-sentencing hearing, Defendant is to be returned to

the custody of the Bureau of Prisons.

       The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

       IT IS SO ORDERED.




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                         Signed: March 4, 2014




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